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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

  In re:                                         §
                                                 §       Case No. 22-33553 (CML)
  Alexander E. Jones,                            §
                                                 §       Chapter 11
      Debtor.                                    §
                                                 §

                         THE TEXAS PLAINTIFFS’
           WITNESS AND EXHIBIT LIST FOR HEARING ON JUNE 14, 2024
Main Case No: 22-33553                               Name of Debtor: Alexander E. Jones


Witnesses:
Robert Schleizer                                     Judge: Christopher M. Lopez
Patrick Magill                                       Courtroom Deputy: Zilde Martinez
                                                     Hearing Date: June 14, 2024
                                                     Hearing Time: 10:00 a.m. (CST)
                                                     Party’s Name: Texas Plaintiffs
                                                     Attorney’s Name: Jennifer Hardy
                                                     Attorney’s Phone: 713-510-1700
Texas Plaintiffs may call or cross-examine
any witness designated or called by any other
party;
                                                     Nature of Proceeding:
Any witness necessary for impeachment or
rebuttal, as necessary;
                                                     Debtor’s Emergency Motion for Entry of an
                                                     Order Converting Debtor’s Chapter 11 Case
Any witness for the authentication of
                                                     to a Case Under Chapter 7 of the Bankruptcy
documents; and
                                                     Code [AJ Docket No. 684]
Texas Plaintiffs reserve the right to amend or
supplement this list as necessary, or in the
interests of justice.




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                                           EXHIBITS
  Ex.          Description            Offered         Objection     Admitted/       Disposition
   #                                                                  Not
                                                                    Admitted

         Any liquidation analysis
         filed by the Debtors;

         Any pleading or other
         document filed with the
         Court on the docket of
         any of the above
         captioned chapter 11
         cases or adversary
         proceedings;

         Any exhibit necessary to
         rebut the evidence or
         testimony of any witness
         offered or designated by
         any other party; and

         Any exhibit listed by
         any other party.



        The Texas Plaintiffs reserve all rights, including, but not limited to, the right to amend,

revise, or supplement this witness and exhibit list at any time, to designate additional witnesses

and exhibits, to call any person identified as a witness by any other party in interest or introduce

any document identified as an exhibit by any other party in interest, and to offer additional

witnesses and exhibits at the hearing for purposes of impeachment, rebuttal, in response to

witnesses and evidence offered by any other party, and for any other permissible purpose under

the Federal Rules of Bankruptcy Procedure and the Federal Rules of Evidence.

                           [Remainder of page intentionally left blank]




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Dated: June 12, 2024

 /s/ Jennifer J. Hardy
 WILLKIE FARR & GALLAGHER LLP                     LAWSON & MOSHENBERG PLLC
 Jennifer J. Hardy (Texas Bar No. 24096068)       Avi Moshenberg (TX Bar No. 24083532)
 600 Travis Street                                801 Travis Street
 Houston, Texas 77002                             Suite 2101 #838
 Telephone: 713-510-1700                          Houston, TX 77002
 Facsimile: 713-510-1799                          Telephone: (832) 280-5670
 Email: jhardy2@willkie.com                       Email: avi.moshenberg@lmbubsinesslaw.com

 AND                                              AND

 Rachel C. Strickland (admitted pro hac vice)     /s/ Jarrod B. Martin
 Stuart R. Lombardi (admitted pro hac vice)       CHAMBERLAIN, HRDLICKA, WHITE,
 Ciara A. Sisco (admitted pro hac vice)           WILLIAMS & AUGHTRY, PC
 787 Seventh Avenue                               Jarrod B. Martin (TX Bar No. 24070221)
 New York, New York 10019                         1200 Smith Street
 Telephone: 212-728-8000                          Suite 1400
 Facsimile: 212-728-8111                          Houston, Texas 77002
 Email: rstrickland@willkie.com                   Telephone: 713-356-1280
         slombardi@willkie.com                    Facsimile: 713-658-2553
         csisco@willkie.com                       Email: jarrod.martin@chamberlainlaw.com

 Bankruptcy Co-Counsel to the Texas               Bankruptcy Co-Counsel to the Texas
 Plaintiffs                                       Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2024, a true and correct copy of the foregoing was served
via the Court’s ECF system to the parties registered to receive electronic service.

                                                     /s/ Jarod B. Martin
                                                     Jarrod B. Martin




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